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 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT SEATTLE
 9   STATE OF WASHINGTON, et al.,                       NO.
10                             Plaintiffs,              DECLARATION OF
                                                        ANNE JOHNSON
11      v.
12   DONALD J. TRUMP, in his official
     capacity as President of the United States of
13   America, et al.,
14                             Defendants.
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     DECLARATION OF ANNE JOHNSON                                 ATTORNEY GENERAL OF WASHINGTON
                                                                      Complex Litigation Division
                                                                      800 Fifth Avenue, Suite 2000
                                                                          Seattle, WA 98104
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 1          I, Anne Johnson, declare as follows:
 2          1.      I am over the age of 18, competent to testify as to the matters herein, and make
 3   this declaration based on my personal knowledge.
 4          2.      I am one of four co-executive directors of Spectrum Center Spokane in Spokane,
 5   Washington. I have served in this position since July 2024. I have been an employee of Spectrum
 6   since March 2021 and was the first hired community health worker to specifically serve Two-
 7   Spirit, Lesbian, Gay, Bisexual, Transgender, Queer, Intersex, Asexual, and more
 8   (2SLGBTQIA+) individuals in Eastern Washington.
 9          3.      In my current role, I am responsible for providing direct services to
10   2SLGBTQIA+ youth and adults in Eastern Washington. I assist transgender individuals with
11   changing their names on passports, birth certificates, and other legal documents. I provide access
12   to clothing and gear, particularly for those who are unhoused. I also assist clients with accessing
13   gender-affirming care. Spectrum maintains connections with healthcare providers in the
14   community who provide gender-affirming care, and so we make referrals to those providers. We
15   are also navigators for the state health care system, helping people enroll in medical insurance if
16   they are currently uninsured. Finally, I connect clients with other community-based
17   organizations that can help them access services, including medical services, behavioral health,
18   and whatever else they need.
19          4.      Spectrum’s mission is to create a safe, intersectional, intergenerational,
20   2SLGBTQIA+ community gathering space that celebrates a resilient, healthy community
21   through social connectedness and support, arts and culture, access to resources, and leadership
22   development. Our long-term vision is for Spectrum to be the primary change agent for the
23   2SLGBTQIA+ community by advocating for social progress in Eastern Washington. We support
24   a thriving and diverse population through education, social events, services, social activism,
25   visibility, and by uplifting and collaborating with other organizations.
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 1          5.      We try to make our services as accessible as possible to the community. We do
 2   not conduct means testing or impose financial barriers. We serve a wide age range of individuals
 3   between the ages of 8 and 80. We currently serve 95 people under the age of 18. Trans youth are
 4   approximately a fifth or a quarter of the clients we serve. While we are located in Spokane, we
 5   serve the community across Eastern and Central Washington as well as in Northern Idaho. In
 6   addition to my work providing community care and direct services, our three other executive
 7   directors oversee advocacy, learning and development, and operations.
 8          6.      We want to ensure that members of our 2SLGBTQIA+ community feel safe,
 9   secured, and supported. To that end, we provide youth support groups that are run by licensed
10   mental health professionals. We also provide support groups for parents of gender expansive
11   youth, as we recognize that parents need to have places to ask questions and learn how to better
12   support their children.
13          7.      Trans youth find our organization in several ways. First, we work closely with
14   school counselors who can connect us with youth in need of services. Second, we are well-known
15   in the community and receive referrals through word of mouth. Third, we provide community
16   drop-in hours for youth to connect with others, make art, and engage in other activities that bring
17   them joy. Our philosophy is that joy leads to resiliency. Finally, we book aquatic centers to
18   provide a safe space for trans youth to swim. These events in particular provide a lot of joy for
19   our 2SLGBTQIA+ community.
20          8.      In our community and nationwide, trans individuals face higher rates of
21   discrimination, abuse, and behavioral health challenges. Trans individuals are more likely to
22   experience mental health crises and suicidal ideations. They also have higher rates of being
23   unhoused. In Spokane County, a high percentage of unhoused youth identify as 2SLGBTQIA+.
24          9.      I understand that the President of the United States has issued an Executive Order
25   that seeks to prevent access to gender-affirming care for youth. While we will continue to do the
26   work we do, we are very worried about the impact of this Executive Order on our community.


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 1   First, we worry that people will stop seeking essential services or will leave the country. Second,
 2   this Executive Order disproportionately affects marginalized communities, including people
 3   with mental health challenges. We believe this Executive Order will lead to a higher risk of
 4   suicide. We are also concerned that this Executive Order will cause medical providers who
 5   provide gender-affirming care to lose their jobs or discontinue services.
 6          10.     Trans youth have expressed concern to us about accessing gender-affirming care.
 7   We work with a lot of youth who use puberty blockers. They are now worried they will lose
 8   access to that treatment. Many of the youth who have reached out to us are not yet able to renew
 9   their prescriptions and are worried about what might happen when they need to refill them. I
10   believe that there will be serious physical and hormonal consequences of trans individuals not
11   continuing on puberty blockers or other medications like hormone replacement therapy. These
12   concerns are forcing trans youth to consider rapid and potentially dangerous changes to their
13   care. The Executive Order has taken away their ability to choose the care that makes sense to
14   them and their situation.
15          11.     We have already heard of one pharmacy in Spokane that is refusing to fill
16   AndroGel prescriptions for trans people. One person told us that the pharmacy required them to
17   provide a wet signature from their doctor. Another told us that because they supposedly had
18   different gender markers on their insurance, the pharmacy would not fill the prescription. A third
19   person was told that the pharmacy is just not selling this medication anymore. And a fourth
20   person was told that they needed to provide additional documentation as to why they need the
21   prescription. Providers do not write prescriptions for gender-affirming care easily—clients must
22   go through an informed consent process, where a medical provider as well as a therapist is often
23   involved. This disruption of care at the pharmacy level is not based on insurance requirements
24   nor general practice.
25          12.     There is widespread confusion and concern about what this Executive Order
26   means. Just this week, a parent reached out to me expressing concern about attending a custody


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 1   exchange with their divorced co-parent and trans child in Idaho. They worry that because the
 2   co-parent is not affirming of their child’s gender, they might be arrested in Idaho as a result of
 3   this Order.
 4          13.     This Executive Order will make life even harder for trans youth who are already
 5   forced to make difficult decisions and endure repressive situations. Trans youth have to balance
 6   the need to access care with the risk that their parents won’t be supportive. We’ve had youth
 7   who have contacted us to access supportive care and then their parents kicked them out of their
 8   homes, leaving them unhoused. Gender-affirming care saves lives. When trans youth reach out
 9   to us for help accessing this care, it’s not frivolous—it’s lifesaving. When that access is denied,
10   it puts young folks at risk of self-harm or even suicide.
11          I declare under penalty of perjury under the laws of the State of Washington and the
12   United States of America that the foregoing is true and correct.
13          DATED this ____
                        4th day of February 2025, at _____________,
                                                      Spokane       Washington.
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                                                   ANNE JOHNSON
                                                   Executive Director
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